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conduct, as Dechert has conceded in the UK litigation by acknowledging that the iniquity
exception applies to a broad swath of communications and work product.

          The document corroborates similar information in the Project Beech report produced at
FA_MDNC_00000425, which includes much of the same information you note was referenced in
Mr. Del Rosso’s deposition. That report states that your client’s company “Vital Management
Services” had access to KM’s bank account, thus further demonstrating the false nature of your
client’s deposition testimony and further implicating your client in criminal activity and blatant
misuse of attorney client and work product privileges. Obviously, your letter (as your client’s
agent), your client’s assertion of work product or privilege, and your client’s perjury raise issues
of legal and ethical significance.

        Given the foregoing, it is appropriate that your client immediately correct his perjury. In
that regard, please confirm:
    • How did your client obtain Dr. Massaad’s bank account information?
    • When did he obtain that information?
    • When did he prepare the document?
    • Who else worked on the document?
    • Did anyone else provide information included in the document?
    • For whom was the document prepared?
    • Was you client paid for the preparation of the document? If so, how much and by whom?

        We look forward to receipt of this information. In the event that we do not receive it prior
to Mr. Del Rosso’s continued deposition, please consider this notice that we regard his perjury to
be something that will have to be corrected through additional questions and answers on the record
during his deposition. Accordingly, we provide notice that we will exceed the previously
anticipated additional period of three hours for his continued depositions for as long as necessary
to correct the record as to this issue. We reserve the right to further extend his deposition in the
event that additional incomplete, dishonest testimony or perjury is revealed by you or discovered
by us.

                                                                     Sincerely,




                                                                     Ian A. Herbert




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